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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,


                                      Plaintiff,

                                                                     DECISION AND ORDER

                                                                     04-CR-6177L

                       v.

TAMMY WATKINS, et al.,


                              Defendants.
________________________________________________


       This Court referred all pretrial motions in this multi-defendant case to United States

Magistrate Judge Jonathan W. Feldman pursuant to 28 U.S.C. § 636(b). Defendant, Tammy Watkins

(“Watkins”), through counsel, filed motions to suppress oral statements made on the day of her

arrest, January 18, 2005. She also moved to suppress photographic identification procedures that

resulted in her identification by two separate witnesses.

       Magistrate Judge Feldman conducted suppression hearings over the course of three days

during May, June and July, 2005. Several witnesses testified for the Government and the defendant

and her boyfriend, Torres Ficklin, also testified. Transcripts of the suppression hearings have been

prepared (Dkts. ## 54, 63 and 64) and have been available for my review.

       Magistrate Judge Feldman issued a thorough Report and Recommendation summarizing the

testimony at the suppression hearings. Magistrate Judge Feldman recommended that the motions
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be denied. Watkins timely filed objections to Magistrate Judge Feldman’s Report and

Recommendation.



Statements:

       As Magistrate Judge Feldman pointed out in his Report and Recommendation, it is not

entirely clear what statements are at issue. Apparently Watkins made certain statements after she

was advised of her Miranda warnings in the Federal Building at Rochester, New York. I agree with

Magistrate Judge Feldman’s summary of the evidence. The ATF Special Agents who took custody

of Watkins from the Greece, New York Police Officer who arrested her, testified that they provided

full Miranda warnings to Watkins; she acknowledged understanding the rights and agreed to talk

to the agents. Watkins, herself, testified and her testimony did not differ from the agents. She

confirmed that she was questioned for about 45 minutes; that she received some necessary

medication during that time; and that she agreed to waive her Miranda rights because she had

“nothing to hide.” I find, as did Magistrate Judge Feldman, that the agents complied with the

requirements of Miranda and that there was no evidence that the statement was otherwise coerced

or involuntary. I find no basis to suppress the statements of Watkins that were made either before

or after the Miranda warnings, for the reasons articulated by Magistrate Judge Feldman.



Identification Procedure:

       Magistrate Judge Feldman found that the photographic array shown to two witnesses was not

unduly suggestive to cause the likelihood of irreparable misidentification. There is nothing in the



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testimony or the photographs themselves which are unduly suggestive. It also appears from the

testimony that the witnesses knew Watkins, and they were not identifying an unknown assailant but

rather someone that they had contact with. In sum, I find no basis to suppress the identification

procedures. At trial, should counsel elect to do so, he can certainly cross-examine any witness who

testified about the identification.



                                         CONCLUSION

        I adopt the thorough Report and Recommendation of United States Magistrate Judge

Jonathan W. Feldman. I accept his summary of the facts and believe his legal analysis is correct.

Therefore, I deny defendant Tammy Watkins’ motion to suppress statements and identification

procedures (Dkt. # 26).

        IT IS SO ORDERED.



                                      _______________________________________
                                               DAVID G. LARIMER
                                             United States District Judge


Dated: Rochester, New York
       January 5, 2006.




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